Case 2:97-cv-01554-JAK-RC Document 964 Filed 03/28/05 Pagelofi Page 0

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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CIVIL MINUTES - SCHEDULING CONFERENCE 4
Case No. _CV 97-1554-DT Date: March 28, 2005 x
Title: Jraurence O'Connor, et al. v. Boeing N.A., Inc., et al,

Consolidated with:

CV

98-7383-DT:

Lisa August v. Boeing N.A., Inc. et al.

CV

99-1548-DT:

Dale Hirschelman v. Boeing N.A., Inc. et al.

CV

99-4818-DT:

Donald Gravel v. Boeing N.A., Ine. et al.

CV

00-186-DT:

Megan Miller v.Boeing N.A., Inc. et al.

CV

00-1319-DT:

Andrea Chimienti v. Boeing N.A., Inc. et al.

CV

01-786-DT:

Lenore Ami v. Boeing N.A., Inc. et al.

CV

O01-7791-DT:

Karen Solomon v. Boeing N.A., Inc. et al,

cv

02-2758-DT;

Joy Waisner v. Boeing N.A., Inc, et al,

CV

02-5714-DT:

Jeffrey M. Bellis v. Boeing N.A., Inc. et al.

ev

02-9192-DT:

Caterina Marie Maw v. Boeing N.A., Inc. et al.

CV

03-3849-DT:

Judy Aldridge,

et_ al. v. Boeing N.A., Inc. et al.

PRESENT: THE HONORABLE DICKRAN TEVRIZIAN, JUDGE

Wendy K. Hernandez

Relief Courtroom Deputy

ATTORNEYS PRESENT FOR PLAINTIFFS:

Barry Cappello
Leila Noel

PROCEEDINGS:

SCHEDULING ORDER

Lori Muraoka

Court Recorder

ATTORNEYS PRESENT FOR DEFENDANTS:

William Schofield

STATUS CONFERENCE RE MODIFICATION OF COURT’S PREVIOUS

The Status Conference is held, and the Court sets the following dates:

Motion Hearing & Pretrial Conference -
Motion in Limine & Jury Trial -

August 8, 2005, at 1:30 p.m.
August 22, 2005, at 9:30 a.m.

Additional dates were discussed and agreed upon on the record. Counsel for

Plaintiffs to submit proposed order.

The clerk is instructed to serve

plaintiff's counsel with a copy of court’s order.

MINUTES FORM 11

CIVIL - SCHEDULING CONFERENGE

DOCKETED ON uM

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Initials of Deputy Clerk_wkh

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